         Case 2:08-cr-00163-JCM-GWF              Document 567        Filed 12/17/10     Page 1 of 3


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     6                                    UN IT ED STA TES D ISTR IC T C O U R T
     7                                           D ISTR IC T O F NEV A DA

     8 UNITED STATESOFAM ERICA,                                )
                                                               )
     9'                             Plaintiff,                 )
        .                                                      )
    10                                                         )
                                                               )         2:08-CR-163-JCM (GW l7)
    11 DEANDRE PATTON,                                         )
       1                                                       )
    l2Ii             Defendant.                                )
      i;
    13                                      FIN A L O RD ER O F FO RFEITUR E
    14                On M ay 3,20l0, the United States D istrict Court for the D istrict of N evada entered a

    15 Preliminm'yOrderofForfeiturepursuanttoFed.R.Crim.P.32.2(b)(1)and(2)andTitle18,United
    16 StatesCode,Section924(d)(1)and(3)andTitle28,UnitedStatesCode,Section2461(c),basedupon
        Il
I   17 theju:yverdictfindingdefendantDEANDREPATTON guiltyofcriminaloftknse,tbrfeitingspecific
i   l8 propertyallegedinthelndictmentandshownbytheUnitedStatestohavearequisitenexustothe
i   191 offenseto which defendantDEANDRE PA'r1'ON wasfound guilty
I                                                                     .
I   20          This Courtfinds the United States otAm erica published the notice ofthe torteiture in
i
I   21 accordance with the 1aw on June 14s2010,June 21,2010,and June28,2010,in theLasVegas
i
ë                                                w                           w   w
i   22        Review -lourrial/sun;and via the otfieial governm ent internet torteiture site,w wwv.forfeiture.gov,
;   23II consecutivelyfrom May17,2010throughJune15,2010,lurthernotilyingal1knownthirdpartiesby
i        I.
         11
i   24. personalservit!eorby regularm ailand certified m ailreturn receiptrequested,oftheirrighttopetition
    25        the Court.
    26
'




             Case 2:08-cr-00163-JCM-GWF               Document 567        Filed 12/17/10     Page 2 of 3



                         'l-heUnited Statessen'ed a11known third pm'
                                                                   ty petitionersbypersonalsenriceorby regular
                  mailand certified mailreturn receiptrequested:
                                a.       KellyCarn,6560 SpencerStreet,#A3,LasVegas,Nevada89119bypersonal
                                         service on July 21,2010,by theUnited StalesM arshalsService.                    j
                                         BradleyM oore,6765Tulip FallsDrive,//1112,Henderson,Nevada8901lby
                                         personalserviceon N ovem berl,2010,bytheU nited StatesM arshalsService. I
1                                                                                                                        :
I                                        RoderickJones,Register# 42823-048,FclLa-l-una,Federalcorrectional
!
!
                                         Institute,P.O .Box 3000,Anthony,Texas,88021,w asserved on July 21,2010,
        9                                by regularm ailand certified m ail. The certitied m ailw assigned on July 26,
            ;I
        10                               2010.
        11                               John M atsubayashi,23 14 W estl66:bStreet, Torrance,California,90504.w as

        12                               sen'ed onJuly 21,2010,byregularm ailandcertitiedm ail.Thecertit-ied mail
        13                               wassigned on July 23,2010.
    '


        14 PETITIO N S:
          !d
        15 l              On August4.2010,Kelly Carn signed a Petition,Stipulation fbrReturn ofProperty,and
             I
        l6kk
           ! order.The United statest'
                                     iled Kelly Carn'sPetition,Stipulation forReturn ofProperty,and Order
        17 on Septem ber 8,2010. O n Septem ber 13,2010,K elly Carn's Petition,Stipulation for Return of
        18!! Property, and O rderw as entered.

        19                O n N ovem ber5,20l0,Bradley M oore signed a Petition,Stipulation forRetum ofProperty,
        20        and Order,O n N ovem ber9,2010,Bradley M oore'sPetition,Stipulation forReturn ofProperty,and
             I1

        21è orderwasentered
        22i1
          !I
                                     .
                          ThisCourtûndsnootherpctitionswerefiledhereinbyoronbehalfofanypersonorentity
        23:!
           . and the tim e fort'
                               iling such petitionsand claim shas expired.
        24j'              Thiscourtfindsnootherpetitionsarependingwithregardtotheassetsnamcdhereinandthe
        25 tim e forpresenting such petitions has expired.
        26
             j'

             !
             !
     Case 2:08-cr-00163-JCM-GWF               Document 567            Filed 12/17/10   Page 3 of 3

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     k
1                THEREFORE,IT IS H ER EBY O RD ERED,A DJU D GED ,A N D D ECR EED thatallright,
2 title,and interestin the property hereinafterdescribed is condem ned,tbrfeited,and vested in the

3 United StatesofAmericapursuantto Fed.R.Crim.P.32.2(b)(4)(A)and (B);Fed.R,Crim.P.
41. 32,2(c)(2);Title18,UnitedStatesCode,Section924(d)(1)and(3)andTitle28,UnitedStatesCode,

         Section 2461(c);and Title 21,United StatesCode,Section 853(n)(7)and shallbe disposed of
         according to law :

                                a .357 Rugerrevolver(serialnumber570-92932)'
                                                                           ,
                        b)      aW alther.45caliberpistol(serialnumber003925W 993);
                        c)      .45caliberOlympicArmspistol(serialnumberS7805);
                        d)      alz-gaugeMossbergshotgun(serialnumberP900915);
                        e)      fiveroundsoflz-gaugeMossbergshotgunammunition;
                                aSpringf-
                                        ieldArmory.45caliberpistol(serialnumber51347237))and
                        g)      anyfirearm orammunitioninvolvedinorusedinanyknowingviolationofthe
                                crim inalchargesoftheindictm ent.
                 IT IS FURTHER ORDERED,ADJUDGED,AND DECREED thatany and allforfeited
         funds,including butnotlim ited to,currency,currency equivalents,certiticatesofdeposit,as wellas
         any incom e derived asaresultoftheUnited StatesofAm erica'sm anagem entofany property forfeited
         herein,and theproceedsfrom the sale ofanyforfeited property shallbe disposed ofaccording to law .
                 The Clerk ishereby directed to send copies ofthis Order to a1lcounselofrecord and three
         certified copiesto the U nited States A ttorney's O ffice.
                 D ATED this l7:bday ofD ecem ber, 2010.
22
23                                                                                       G.
                                                           I .I7STATES DISTRICT JUDGE
